         Case 7:17-cv-01114-RDP Document 228 Filed 09/17/21 Page 1 of 1                                FILED
                                                                                              2021 Sep-17 PM 01:09
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               WESTERN DIVISION
 MICHAEL W. RONDINI, as                           }
 Administrator and Personal                       }
 Representative for the Estate of Megan           }
 Elizabeth Rondini, deceased,                     }
                                                  }
        Plaintiff,                                }
                                                  }
 v.                                               }   Case No.: 7:17-cv-01114-RDP
                                                  }
 TERRY J. BUNN, JR.,                              }
                                                  }
        Defendant.                                }

                                   ORDER OF DISMISSAL
       The court, having been informed that a settlement has been reached, DISMISSES this case

WITHOUT PREJUDICE. The court shall retain jurisdiction over this matter for the sole purpose

of enforcing the settlement reached by the parties.

       The parties are DIRECTED to submit a joint stipulation of dismissal once all settlement

documentation is complete, but not later than sixty (60) days from the entry date of this Order, at

which time the court will dismiss this matter with prejudice.

       DONE and ORDERED this September 17, 2021.



                                             _________________________________
                                             R. DAVID PROCTOR
                                             UNITED STATES DISTRICT JUDGE
